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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

RESTORE ROBOTICS, LLC,
and RESTORE ROBOTICS
REPAIRS, LLC,

      Plaintiffs,

v.                                                Case No. 5:19cv55-TKW-MJF

INTUITIVE SURGICAL, INC.,

     Defendant.
____________________________/

                           NOTICE OF HEARING

      TAKE NOTICE that a telephonic case management conference in this case

has been set before Judge T. Kent Wetherell as described below:

      DATE:                    Thursday, August 20, 2020

      TIME:                    1:00 P.M. C.D.T.

      CONFERENCE CALL
      INFORMATION:    ALL PARTIES are directed to call the AT&T

                               Conference Line. You may dial into the conference

                               call up to five minutes before start time. Call in

                               number: 888-684-8852. When prompted for an

                               access code, enter: 5362978#. If you are asked to

                               join as the host, just ignore and wait until you are
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                            asked for a security code. When asked for a security

                            code, enter: 51955#.      Say your name, when

                            prompted. You are now in the conference call.

                            Remember to mute your phone when you are not

                            speaking. It is advised that counsel NOT use cell

                            phones or speaker phones during the call as the

                            quality of the audio connection is compromised by

                            these devices.

      NOTE:                 If anyone participating in this hearing has a

                            disability that requires special accommodation,

                            please contact the Clerk’s office at least one week

                            prior to the hearing so arrangements can be made.

      DONE and ORDERED this 18th day of May, 2020.

                            T. Kent Wetherell, II
                            T. KENT WETHERELL, II
                            UNITED STATES DISTRICT JUDGE




Copies to:
All parties

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